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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

G.T.,                                            )
                                                 )
                 Plaintiff,                      )
                                                 )
            v.                                   )          No. 4:25-CV-128 HEA
                                                 )
LIBERTY MUTUAL FIRE                              )
INSURANCE COMPANY, et al.,                       )
                                                 )
                 Defendants.                     )


                     OPINION, MEMORANDUM AND ORDER

        This matter is before the Court on Plaintiff G.T.’s Motion to Remand, which

Defendant James McLaurie joins. 1 (ECF Nos. 37 and 41). Defendant Liberty

Mutual Fire Insurance Company (“Liberty Mutual”) opposes the motion, which is

fully briefed and ripe for review. Based on Defendant James McLaurie’s joinder in

the Motion to Remand, this matter will be remanded to state court.

                                         I. Background

        On May 3, 2023, Plaintiff G.T. brought suit in the Circuit Court of St. Charles

County, Missouri against James and Susan McLaurie for the physical and sexual


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         Also pending before the Court are Liberty Mutual’s Motions to Strike Blake Markus’s
Entry of Appearance on Behalf of Decedent Susan McLaurie, to Strike Decedent Susan
McLaurie’s Disclosure Statement, to Bifurcate and Stay Discovery and Trial as to Counts II-V of
Plaintiff’s Complaint, to Stay Pending Ruling on Plaintiff’s Motion to Remand, and to Strike and
to Enforce the Parties’ Agreed Upon Stay, (EFC Nos. 13, 33, 43, 49, and 72), as well as Plaintiff’s
Motion to Appoint Defendant ad Litem and Motion to Strike Answer to Complaint, (ECF Nos. 19
and 70). The Court declines to address these motions as case is being remanded to state court.
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abuse she endured while she was in their care during certain periods of time between

March 2008 and May 2009, when she 3-4 years old.2 See G.T. v. McLaurie, et al.,

Case No. 2311-CC00467 (“Underlying Litigation”).                  Plaintiff brought separate

claims of negligence against James McLaurie and Susan McLaurie for negligent

supervision. On October 30, 2024, following a bench trial, the Honorable W.

Christopher McDonough entered Judgment in favor of Plaintiff G.T. and against

Defendants James McLaurie for $150,000,000, and in favor of Plaintiff G.T. and

against Susan McLaurie for $150,000,000, for a total judgment of $300,000,000.

       On January 17, 2025, Plaintiff filed a Petition against Defendants Liberty

Mutual, James McLaurie, and Susan McLaurie in the Circuit Court of St. Charles

County, Missouri seeking to collect on the Judgment entered in the Underlying

Litigation.    G.T. v. Liberty Mutual Fire Insurance Company, Case No. 2511-

CC00068. In her Petition, Plaintiff brings claims for Equitable Garnishment under

Mo. Rev. Stat. § 379.200 against all three defendants (Count I). Plaintiff also brings

claims of Bad Faith (Count II), Breach of Contract (Count III), and Breach of

Fiduciary Duty (Count IV) against Liberty Mutual. Plaintiff alleges Liberty Mutual



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         Susan McLaurie died on August 1, 2022, approximately nine months before the
Underlying Litigation was filed. The state court appointed attorney Blake I. Markus as defendant
ad litem to act as the legal representative of Susan McLaurie, the deceased wrongdoer and insured.
See Mo. Rev. Stat. § 537.021(1).


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provided Susan and James McLaurie with coverage under three insurance policies,

and that the policies provided coverage for the negligence claims asserted in the

Underlying Litigation. Liberty Mutual denied coverage under the polices and

refused to provide Defendants James and Susan McLaurie a defense.

       On January 31, 2025, Defendant Liberty Mutual removed the cause of action

to this Court. Defendant James McLaurie was not served at the time of removal

and has never been served. Defendant James McLaurie voluntarily entered an

appearance on February 21, 2025. He did not join in Liberty Mutual’s Notice of

Removal, and in fact, on March 13, 2025, he joined Plaintiff’s Motion to Remand.

Defendant Susan McLaurie also did not join in the removal.

       In its Notice of Removal, Liberty Mutual avers this Court has original

jurisdiction over the dispute pursuant to 28 U.S.C. § 1332, because there is complete

diversity of citizenship between Plaintiff and each of the Defendants and that the

amount in controversy exceeds $75,000. (ECF No. 1 at 5). Complete diversity,

however, is lacking on the face of the Petition, as Plaintiff and Defendant James

McLaurie are alleged to be citizens of Missouri. 3 Liberty Mutual avers that


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         Liberty Mutual avers that it is an insurance company organized and existing under the
laws Wisconsin with its principal place of business in Massachusetts. Prior to her death, Susan
McLaurie was an individual resident and citizen of the State of Tennessee. However, as Susan
McLaurie is deceased, Liberty Mutual argues her citizenship should be disregarded for purposes
of diversity.


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Defendant James McLaurie, who is presently incarcerated at the Potosi Correctional

Center in Mineral Point, Missouri, is a citizen of Texas. Alternatively, Liberty

Mutual argues Defendants James McLaurie should be realigned with Plaintiff.

Plaintiff GT and Defendant James McLaurie seek remand under 28 U.S.C. §

1447(c).

                                  II. Legal Standard

      For diversity jurisdiction to exist under 28 U.S.C. § 1332(a)(1) there must be

complete diversity of citizenship between plaintiffs and defendants. Buckley v.

Control Data Corp., 923 F.2d 96, 97, n.6 (8th Cir. 1991). Diversity jurisdiction

requires “complete diversity, that is where no defendant holds citizenship in the

same state where any plaintiff holds citizenship.” Junk v. Terminix Int'l Co., 628

F.3d 439, 445 (8th Cir. 2010). “It is settled, of course, that absent complete

diversity a case is not removable because the district court would lack original

jurisdiction.” Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 564 (2005)

(cited case omitted). Where complete diversity of citizenship does not exist, 28

U.S.C. § 1447(c) requires a district court to remand the case to state court for lack

of subject matter jurisdiction.




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                                     III.   Discussion

      In moving to remand, Plaintiff G.T. and Defendant James McLaurie assert

that this Court lacks jurisdiction because complete diversity does not exist between

the parties. See 28 U.S.C. § 1332. Specifically, they argue both Plaintiff G.T. and

Defendant James McLaurie are citizens of Missouri.4 In opposing remand, Liberty

Mutual argues that Defendant James McLaurie is a citizen of Texas. It also urges

the Court to realign the parties so that Defendant James McLaurie is aligned with

Plaintiff G.T. and not the defendants. The Court will first address the alignment

issue before turning to the citizenship of Defendant James McLaurie.

      A. Alignment of Parties

      According to Liberty Mutual, there is no actual, substantial controversy

between G.T. and James McLaurie. The company points to the fact that G.T. is not

bringing claims against James McLaurie in Counts II-IV of her Amended Complaint,

and it contends G.T. and James McLaurie are not adverse with respect to Count I,

the equitable garnishment claim, but rather their interests are aligned. Liberty

Mutual argues both parties have an interest in having all or a part of the judgment in

the Underlying Litigation satisfied by the insurer. Liberty Mutual asserts James


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        There is no dispute that the requisite amount in controversy is met. See 28 U.S.C.
§ 1332(a).



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McLaurie is a nominal defendant who may to be joined pursuant to Mo. Rev. Stat.

§ 379.200 and, therefore, he should not be considered a defendant in this case for

purposes of determining diversity jurisdiction.

      The alignment of parties in the pleadings as plaintiffs and defendants is not

conclusive in determining whether complete diversity of citizenship exists.

Universal Underwriters Ins. Co. v. Wagner, 367 F.2d 866, 870 (8th Cir. 1966). It

is the duty of the federal courts to “look beyond the pleadings, and arrange the parties

according to their sides in the dispute.” City of Indianapolis v. Chase Nat. Bank of

City of New York, 314 U.S. 63, 69 (1941) (quoted case omitted)).

      Courts, including the Eighth Circuit, have consistently held that Section

379.200 does not just permit a plaintiff to join the judgment debtor in an equitable

garnishment action, but rather a plaintiff is required to join the judgment debtors in

an action filed pursuant to the statute. See, e.g., Glover v. State Farm Fire & Cas.

Co., 984 F.2d 259, 261 (8th Cir. 1993) (recognizing “the plain statutory command

that the judgment debtor be joined in an action under § 379.200”). In fact, in

Glover, the Eighth Circuit not only affirmed the district court’s ruling that Section

379.200 required the joinder of the judgment debtor/insured, but it also affirmed the

lower court’s ruling that “[the plaintiff] could not bring such an action [under Section

379.200] in federal court.” Id. at 260-261. The Court of Appeals wrote that “joinder


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of the [judgment debtor/insured] in the federal action would destroy diversity

jurisdiction,” because the plaintiff and the judgment debtor/insured were both

citizens of Missouri. Id. at 260. Following the holding in Glover, lower federal

courts sitting in Missouri have declined to realign the parties in suits brought

pursuant to Section 379.200. See, e.g., Fowler v. STL Trucking, LLC, No. 4:22-CV-

955 AGF, 2022 WL 17829837, at *4 (E.D. Mo. Dec. 21, 2022) (declining to realign

the parties and finding diversity jurisdiction does not exist to entertain the removed

action); Otten v. Liberty Mut. Ins. Co., No. 4:17-CV-2526 CDP, 2018 WL 3861340,

at *2 (E.D. Mo. Aug. 14, 2018) (same); Hart v. Knockerball MidMo, LLC, No. 2:17-

CV-4182 NKL, 2017 WL 6209235, at *3 (W.D. Mo. Dec. 8, 2017) (same).

      The Court finds Defendant James McLaurie is a necessary and proper

defendant in Count I and declines to realign the parties in this case. Glover, 984

F.2d at 261; Fowler, 2022 WL 17829837 at *4; Otten, 2018 WL 3861340 at *2;

Hart, 2017 WL 6209235 at *3. Defendant James McLaurie remains a defendant

for determining diversity jurisdiction.

      B. Citizenship of Defendant James McLaurie

      The parties also dispute the citizenship of Defendant James McLaurie, who is

an inmate at the Potosi Correctional Center, in Mineral Point, Missouri. Defendant

James McLaurie was charged and convicted in the Circuit Court of St. Charles


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County, Missouri, following jury trial on four felony counts of statutory sodomy in

the first degree, child molestation in the first degree, statutory rape in the first degree,

and sexual misconduct involving a child by indecent exposure.                See State of

Missouri v. McLaurie, Case No. 1611-CR02473. He is serving a 60-year sentence

and may be eligible for parole in 2038. Defendant James McLaurie was charged

based on events that occurred between 2008 and 2009 when he was living in

Missouri. But Defendant James McLaurie was living in Texas in 2016 when he

was indicted on the four felony counts.

       Liberty Mutual contends Defendant James McLaurie is a citizen of Texas,

where Defendant James McLaurie was domiciled prior to his incarceration in

Missouri. Plaintiff and Defendant James McLaurie do not contest that James

McLaurie was domiciled in Texas prior to his incarceration but contend that he has

changed his domicile and is now a citizen of Missouri.

       “For purposes of federal jurisdiction, domicile and citizenship are

synonymous terms.” Wagstaff & Cartmell, LLP v. Lewis, 40 F.4th 830, 839 (8th Cir.

2022). Once an individual establishes his state of citizenship, he remains a citizen

of that state until he legally acquires a new state of citizenship. Altimore v. Mount

Mercy Coll., 420 F.3d 763, 769 (8th Cir. 2005). With respect incarcerated persons,

there is a presumption that a prisoner does not acquire a new domicile when he is


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incarcerated in a different state; instead, he retains the domicile he had prior to his

incarceration.   Jones v. Hadican, 552 F.2d 249, 250 (8th Cir. 1977).               This

presumption, however, can be rebutted, as there are “exceptional circumstances” that

“would justify a finding that [the prisoner] has acquired a new domicile at the place

of his incarceration.” Id. at 251. According to the Eighth Circuit, a prisoner

retains the domicile he had prior to his incarceration, unless the prisoner can point

to facts sufficient to indicate a bona fide intention to change his domicile to the place

of his incarceration. Id. Facts that are relevant to a prisoner’s domicile include the

following: the nature of the crime of conviction, the possibility of parole, business

transactions, personal relationships, and property ownership. Id. In the case at bar,

the parties dispute what effect the presumption has on the burden of proof and what

evidence Plaintiff and Defendant James McLaurie must produce, if any, to establish

Defendant James McLaurie changed his domicile.

      Liberty Mutual, as the removing party, bears the burden of proof and must

establish federal jurisdiction by a preponderance of the evidence. In re Prempro

Prods. Liab. Litig., 591 F.3d 613, 620 (8th Cir. 2010). The burden of proof has two

elements – a burden of production, also known as the burden of producing evidence,

and a burden of persuasion. Policy Background; Burdens of Proof, 21B Fed. Prac.

& Proc. Evid. § 5122 (2d ed.). In general, when a presumption arises in a case, it


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shifts the burden of production, in other words the burden of going forward with

proof, but it does not shift the ultimate burden of persuasion, the burden of

persuading the trier of fact. See St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502, 507

(1993) (hold that as in the case of all presumptions, the ultimate burden of persuasion

does not change) (citing Fed. Rule Evid. 301).

      The Tenth Circuit Court of Appeals has explained the presumption against a

change in domicile as follow:

      Here’s how we think it works. Start with the rule that a party invoking
      diversity jurisdiction bears the burden of proving its existence by a
      preponderance of the evidence. … The party invoking diversity
      jurisdiction might satisfy this burden by leaning on a rebuttable
      presumption that its domicile, once established, remains the same. …

      But that presumption is a rebuttable one, and the party seeking to rebut
      it bears only a burden of production—not persuasion. In other words,
      the party seeking to rebut the presumption need only produce sufficient
      evidence suggesting that domicile has changed; the party need not
      prove it. … As a definitional matter, a party produces sufficient
      evidence when it produces enough evidence substantiating a change [in
      domicile] to withstand a motion for summary judgment or judgment as
      a matter of law on the issue. … And if a party successfully rebuts the
      presumption, it disappears from the case, leaving us at square one: The
      plaintiff bears the burden of proving diversity by a preponderance of
      the evidence. … Fed. R. Evid. 301 (explaining presumptions).

      Middleton v. Stephenson, 749 F.3d 1197, 1200 (10th Cir. 2014) (quotations

and some citations omitted). See also McCann v. Newman Irrevocable Tr., 458

F.3d 281, 288 (3d Cir. 2006) (“the presumption favoring an established domicile


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places the burden of production on the party alleging a change in domicile, but does

not affect the burden of persuasion, which remains throughout with the proponent of

federal jurisdiction).

      In the Eighth Circuit, however, the effect of the presumption against a change

in domicile is more muddled. The Eighth Circuit recognized the presumption

regarding a prisoner’s domicile in Jones, however, when the Court of Appeals

analyzed the prisoner plaintiff’s domicile and applied the presumption, it did not

look to evidence in the record. 552 F.2d at 250. Rather, it examined whether the

plaintiff prisoner had alleged sufficient facts in his complaint to indicate a change in

domicile, which it found he had not. Id.

      Plaintiff and Defendant James McLaurie argue, based on Jones, that they need

not come forward with evidence to rebut the presumption and that factual allegations

can meet their burden of production. But Jones, was in a different procedural

posture than the case at bar. There, the lower court had reviewed the prisoner

plaintiff’s pro se complaint and dismissed sua sponte for lack of subject matter

jurisdiction. Id. The prisoner plaintiff appealed the dismissal and argued he had

changed his domicile and, therefore, there was diversity jurisdiction. On appellate

review, the Eighth Circuit recognized the rebuttable presumption for a change in a

prisoner’s domicile, but it concluded, based on the record before it, that there were


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insufficient allegations in the plaintiff’s complaint that would indicate there was

even an issue of fact about a change in domicile. Id. Significantly, the Eighth

Circuit did not hold that the presumption could be rebutted in a contested motion by

allegations alone.

       Liberty Mutual argues that the presumption must be rebutted with evidence

but citing to Eckerberg v. Inter-State Studio & Publishing Company, 860 F.3d 1079,

1085 (8th Cir. 2017), Liberty Mutual contends that the burden is now on Defendant

James McLaurie to establish by clear and convincing evidence that his has changed

his domicile to Missouri – which in a higher standard than normally what is required

to establish jurisdiction in the Eighth Circuit. In re Prempro Prods., 591 F.3d at

620.   In Eckerberg, the Eighth Circuit addressed the domicile of an enlisted

serviceman. The Court of Appeals wrote that the party challenging jurisdiction

“has the burden of establishing jurisdiction by competent proof and by a

preponderance of the evidence.” Id. at 1084. But quoting a case from the First

Circuit, the court proceeded to write: “‘Service personnel are presumed not to

acquire a new domicile when they are stationed in a place pursuant to orders; they

retain the domicile they had at the time of entry into the services,’ yet this

presumption may be rebutted by ‘clear and unequivocal evidence.’” Id. (emphasis

added) (citing Melendez-Garcia v. Sanchez, 629 F.3d 25, 41 (1st Cir. 2010)).


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      It is unclear from Eckerberg and subsequent case law whether the Eighth

Circuit has adopted a clear and convincing standard of proof for determining changes

in domicile in general, or if the application of this heightened standard is more

limited and only applies in cases of service members. Notably, nowhere in the

Jones opinion – the only case in which the Eighth Circuit has addressed a change in

domicile for prisoners – does the court suggest a heightened “clear and unequivocal

evidence” standard must be met to rebut the presumption of the domicile for

incarcerated persons. Jones, 552 F.2d at 251.

      The Court finds G.T.’s and Defendant James McLaurie’s argument that they

need not come forward with evidence and can rest on allegations is unpersuasive.

Based on Eighth Circuit case law and how presumptions are utilized in general, the

Court finds that to rebut the presumption regarding a prisoner’s domicile, G.T. and

Defendant James McLaurie must come forward with evidence to support a finding

that there was a change in domicile. Eckerberg, 860 F.3d at 1085; Middleton, 749

F.3d at 1200; McCann 458 F.3d at 288; see also Altimore, 420 F.3d at 768

(evaluating evidence to determine whether the plaintiff had changed his domicile).

That said, the Court need not decide what burden of proof Plaintiff G.T. and

Defendant James McLaurie must meet to rebut the presumption as to a prisoner’s

domicile – whether it is by clear and convincing evidence or preponderance of the


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evidence – because Plaintiff and Defendant James McLaurie have failed to come

forward with sufficient evidence under either standard.

      Plaintiff G.T. produced no evidence to rebut the presumption, which does not

meet her burden of production. Defendant James McLaurie for his part filed a

signed “Statement” in which he states that he does not own or rent real estate in

Texas – or any other state – and he has no remaining ties to Texas. (ECF No. 80,

Ex. 1). He states that he understands that upon his release, he will be subject to

strict supervision by the Missouri Department of Corrections, Probation and Parole,

and that he intends to follow Missouri’s laws, regulations and policies of

supervision, and he will find a home or rental property in Missouri. He states that

he has no plans for living outside of Missouri, and he considers himself a resident of

Missouri. He further states that despite having some family outside of Missouri, if

his conviction is overturned, he plans to reside in Missouri in order to build a support

system.

      James McLaurie’s Statement, however, is not admissible evidence because

while it was signed with two witnesses, it is neither a notarized affidavit executed

under oath, nor a declaration signed under penalty of perjury pursuant to 28 U.S.C.

§ 1746. Banks v. Deere, 829 F.3d 661, 668 (8th Cir. 2016). An unsworn statement

that is not an affidavit executed under oath can only be considered as evidence if it


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was signed “under penalty of perjury” and verified as true and correct, in the form

required by 28 U.S.C. § 1746. Basham v. Midland Funding, LLC, No. 4:15-CV-30

CDP, 2022 WL 1125500, at *5 (E.D. Mo. Apr. 15, 2022), aff'd, No. 22-1931, 2023

WL 115860 (8th Cir. Jan. 6, 2023). Plaintiff G.T. and Defendant James McLaurie

have failed to meet their burden and produce evidence to rebut the presumption that

Defendant James McLaurie remains a citizen of Texas.5 Therefore, the Court will

deny without prejudice Plaintiff G.T.’s Motion to Remand. 28 U.S.C. § 1447(c).

As for Defendant James McLaurie, he joined in the Motion to Remand. This raises

the issue of whether he consents to Liberty Mutual’s choice of forum, to which the

Court now turns.

       C. Consent to Removal

       When a civil action is removed pursuant to § 1441(a) “all defendants who

have been properly joined and served must join in or consent to the removal of the



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          The Court has remaining concerns as to whether there is subject matter jurisdiction in this
case, because the unsworn statement, if taken as true, supports a finding that James McLaurie has
abandoned his domicile in Texas, and that he intends to reside in Missouri indefinitely, even if
when released on parole. And if Defendant James McLaurie has changed his domicile to
Missouri, diversity jurisdiction does not exist, and the Court lacks authority over this case.
Wisconsin Dept. of Corrections v. Schacht, 524 U.S. 381 (1998) (noting federal courts are courts
of limited jurisdiction, and in the absence of jurisdiction, a court is powerless to act); GMAC
Commercial Credit LLC v. Dillard Dept. Stores, Inc., 357 F.3d 827, 828–829 (8th Cir. 2004)
(same). A motion to remand for lack of subject matter jurisdiction is not subject to a 30-day time
limitation. See 28 U.S.C. § 1447(c). “[I]f at any time before final judgment it appears that the
district court lacks subject matter jurisdiction, the case shall be remanded.” See Id.; Ruhrgas AG
v. Marathon Oil Co., 526 U.S. 574, 583 (1999).

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action.” 28 U.S.C. § 1446(b)(2)(A); Christiansen v. W. Branch Cmty. Sch. Dist., 674

F.3d 927, 932 (8th Cir. 2012) (“Where there are multiple defendants, all must join

in a [notice] to remove within thirty days of service.”).            This “unanimity

requirement” serves important interests by “prevent[ing] duplicative litigation and

bar[ring] one defendant from imposing his forum of choice on co-defendants.” Id. at

933. Although “each defendant need not necessarily sign the notice of removal ...

[t]here must, however, be some timely filed written indication from each served

defendant, or from some person with authority to act on the defendant’s behalf,

indicating that the defendant has actually consented to the removal.” Pritchett v.

Cottrell, Inc., 512 F.3d 1057, 1062 (8th Cir. 2008) (internal citations and quotations

omitted). See also Griffioen v. Cedar Rapids & Iowa City Ry. Co., 785 F.3d 1182,

1187 (8th Cir. 2015) (holding there is no “hardline requirement” as to the time and

form for a non-removing defendant to consent to removal). If one defendant fails

to consent to the removal, then the removal is rendered defective. Pritchett, 512

F.3d at 1062.

      At the time of Liberty Mutual’s removal from state court, Defendant James

McLaurie had not been served. Therefore, his consent was not necessary for

removal because obtaining the consent of an unserved defendant is not required to

effectuate removal to federal court. 28 U.S.C. § 1446(b)(2)(A); Roberts v. Palmer,


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354 F. Supp. 2d 1041, 1044 (E.D. Mo. 2005). If, however, a defendant is served

following removal, it may exercise its right to choose the state forum by filing a

motion to remand. 28 U.S.C. § 1448. A defendant “[is] not deprived of its right

to move to remand the case by virtue of not being served at the point of removal.”

Saller v. N. Pointe Ins. Co., No. 16-003090-CV-S-RK, 2016 WL 10637094, at *2

(W.D. Mo. July 25, 2016). In effect, a defendant who was not served prior to

removal “retains the right to veto the removal” by moving to remand once it appears

in the case. Sorell v. Garrison Prop. & Cas. Ins. Co., No. 15-00845-CV-W-HFS,

2016 WL 9137638, at *2 (W.D. Mo. Mar. 17, 2016) (internal citations and quotation

marks omitted).

      Defendant James McLaurie has neither filed a notice of consent nor otherwise

indicated that he consents to Liberty Mutual’s removal. In fact, he has indicted that

he objects to proceeding in federal court. Subsequent to removal, on February 20,

2025, counsel entered an appearance on Defendant James McLaurie’s behalf,

effectively waiving service, and on March 13, 2025, he filed both an answer and

joined Plaintiff’s Motion to Remand. (ECF Nos. 40 and 41). Defendant James

McLaurie’s joining in the motion to remand to state court signals that there is no

unanimity among the defendants as to removal and proceeding in federal court.

Ford v. Associated Elec. Coop., Inc., No. 2:17-CV-71 CDP, 2017 WL 5903969, at


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*3 (E.D. Mo. Nov. 30, 2017) (finding an unserved defendant’s motion to remand

“signals that there is no unanimity among the defendants to the federal forum” and

that the case should be remanded); Saller, 2016 WL 10637094, at *2 (remanding for

lack of unanimity after unserved defendant filed answer and motion to remand);

Sorell, 2016 WL 9137638, at *2 (remanding for lack of unanimity after unserved

defendant filed voluntary entry of appearance and moved to remand). Therefore,

this Court finds this cause of action should be remanded to state court for lack of

unanimity among the defendants as the proper forum for this suit. The defendants

do not agree as to the suitability of proceeding in federal court.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiff G.T.’s Motion for Remand is

DENIED without prejudice. [ECF No. 37]

      IT IS FURTHER ORDERED that Defendant James McLaurie’s joinder in

the Motion to Remand indicates there is no unanimity among the defendants to

proceed in this forum, and his Motion to Remand is GRANTED. [ECF No. 41]




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      IT IS FURTHER ORDERED that this case is REMANDED to the Circuit

Court of St. Charles County, Missouri. An appropriate Order of Remand will

accompany this order.



      Dated this 26th day of June, 2025.




                                      ___________________________________
                                            HENRY EDWARD AUTREY
                                         UNITED STATES DISTRICT JUDGE




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